          Case 18-10359      Doc 27     Filed 03/09/18 Entered 03/09/18 15:50:52            Desc Main
                                          Document     Page 1 of 2

                                       United States Bankruptcy Court
                                             District of Massachusetts
         Eric J. Dixon
 In re   Kerri G. Dixon                                                        Case No.   18-10359
                                                        Debtor(s)              Chapter    7

                             OPPOSITION TO MOTION FOR RELIEF OF STAY

        Now comes the Debtor in the above-captioned case and opposes the Motion for Relief of Stay filed by
creditor Nationstar Mortgage LLC d/b/a Mr. Cooper and the Debtor submits the following in support thereof:

    1.      On or about February 1, 2018, the Debtor filed an original petition under Chapter 7 of the United

            States Bankruptcy Code in this Court;

    2.      On or about March 2, 2018, Debtor Nationstar Mortgage LLC d/b/a Mr. Cooper (Mr. Cooper) filed

            a Motion for Relief of Stay seeking permission to foreclose against the Debtor's primary residence;

    3.      This case was recently dismissed but Debtor has filed a Motion to Vacate the Dismissal and files this

            opposition to Mr. Cooper's motion should the case be reinstated;

    4.      Debtor opposes a Motion for Relief of Stay on the grounds that Relief of Stay is not necessary.

            Debtor, with applicable Court approval, expects to either apply for a modification of their mortgage

            with Mr. Cooper or list their primary residence for sale and, as noted in the Schedules, will have

            enough equity to pay the secured creditor in full, rendering an Order for Relief of Stay and

            subsequent foreclosure unnecessary;

    5.      A relief of stay order would allow Mr. Cooper to foreclose against the primary residence and

            unnecessarily waste the Debtors' equity.

WHEREFORE, the Debtor respectfully requests that this Court deny the creditor Nationstar Mortgage LLC
d/b/a Mr. Cooper's Motion for Relief of Stay pending Debtor's best efforts to address their mortgage arrearages
by modification or sale of collateral.

                                                             Respectfully submitted,
                                                             Debtor
                                                             By their attorney,
Dated: March 9, 2018                                         /s/ Anthony Frate
                                                             Anthony Frate, Esq.
                                                             426 Main Street, Suite 1
                                                             Stoneham, MA 02180
                                                             781-438-2800
                                                             BBO No. 567093
        Case 18-10359       Doc 27     Filed 03/09/18 Entered 03/09/18 15:50:52          Desc Main
                                         Document     Page 2 of 2




                                            Certificate of Service

I, Anthony Frate, certify that on March 9, 2018, I caused to be served a copy of the above document to the
trustee and to the moving party by ECF automatic electronic service:

Korde &Associates (attorney for Nationstar d/b/a Mr. Cooper):      jranieri@kordeassoc.com
John Aquino, Chapter 7 Trustee:                                    jja@andersonaquino.com
US Trustee:                                                        USTPRegion01.BO.ECF@USDOJ.GOV


/s/ Anthony Frate
